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OPEN COURT
CE SONU FLORIDA

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA = [2/528 23

JACKSONVILLE DIVISION _ ys. DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

UNITED STATES OF AMERICA

VS. CASE NO. 3:23-cr-122-MMH-MCR
NEAL BRIJ SIDHWANEY

NOTICE REGARDING ENTRY
OF A PLEA OF GUILTY

In the event the defendant decides at any time before trial to enter a plea
of guilty, the United States Magistrate Judge is authorized by Local Rule 1.03
United States District Court, Middle District of Florida, with the consent of the
defendant, to conduct the proceedings required by Rule 11, Fed.R.Crim.P.
incident to the making of the plea. If, after conducting such proceedings, the
Magistrate Judge recommends that the plea of guilty be accepted, a presentence
investigation and report will be ordered pursuant to Rule 32, Fed.R.Crim.P.
The assigned United States District Judge will then act on the Magistrate
Judge's Report and Recommendation; and, if the plea of guilty is accepted, will
adjudicate guilt and schedule a sentencing hearing at which the District Judge
will decide whether to accept or reject any associated plea agreement, and will

determine and impose sentence.

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CONSENT

I hereby declare my intention to enter a plea of guilty in the above case,
and I request and consent to the United States Magistrate Judge conducting the
proceedings required by Rule 11, Fed.R.Crim.P., incident to the making of such
plea. I understand that if my plea of guilty is then accepted by the District
Judge, the District Judge will decide whether to accept or reject any plea
agreement I may have with the United States and will adjudicate guilt and
impose sentence.

Date: December 15, 2023

Mp... | obrkirsren roldor

efendant” Defendant’? Attorney

